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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW MEXICO

CARL WILSON, an individual,
and AUDREE WILSON, an
individual,

Plaintiffs,
Vv. No. CIV 94 892 JC/LG

HARPERCOLLINS PUBLISHERS, INC.,
a Delaware corporation,

Defendants.

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AMENDED CERTIFICATE OF SERVICE

COME NOW Plaintiffs by their attorneys, LANGBERG, COHN & DROOZ
(Barry B. Langberg, Esq. and Beth Dumas, Esq.) and local counsel,
Ernesto J. Romero J.D. to certify that the following pleadings were
hand-delivered to opposing local counsel, William $. Dixon, Esq.,
Rodey Law Firm and were sent by federal express to opposing
counsel, R. Bruce Rich, Esq., WEIL, GOTSHAL & MANGES, this 28th day
of September, 1995:

1. Plaintiffs' Memorandum of Law in Opposition to

Defendant Harpercollins' Motion for Summary
Judgment ;

2. Declaration of Dr. Janet Roehl in Support of
Plaintiffs' Memorandum in Opposition to Harpercollins
Motion for Summary Judgment;

3. Declaration of Edwin Diamond in Support of Plaintiffs!
Memorandum in Opposition to Harpercollins Motion for
Summary Judgment;

4. Declaration of Deborah Drooz,

5. Application for Acceptance of Filing Under Seal, (without

the documents under seal which were retained by the Clerk's
Office) and

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6. Appendix of Out of State Cases in Support of Plaintiffs'
Memorandum of Law In Opposition to Defendant Harpercollins'
Motion for Summary Judgment.
Respectfully submitted,
LANGBERG, COHN & DROOZ

nd

ROMERO LAW "IRM

By

Ernesto J. Romero J.D.
3602 Campus N.E.
Albuquerque, N.M. 87106
(505) 262-2131
Attorneys for Plaintiffs

CERTIFICATE OF SERVICE

I certify that I caused the foregoing pleading to be hand-delivered
to opposing loca William S. Dixon, Esq. of the Rodey Law
Firm and that #mailed aco to R. Bruce Rich, Esq., Weil, Gotshal
& Manges, 767 Fifth Avenue, NeW York, New York, 10153 this 28th day
of September\ 1995 with correct\first-class postage affixed.

Ernesto J. Romero J.D.

